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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                          Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                        Check if this an
                                                                                                                                     amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     KENNETH
     your government-issued        First name                                                         First name
     picture identification (for
     example, your driver's        RAY
     license or passport).         Middle name                                                        Middle name
     Bring your picture
     identification to your
                                   MCMAHAN
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                           Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4135
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   KENNETH RAY MCMAHAN                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 140 S Buteo Woods
                                 Las Vegas, NV 89144
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Clark
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    KENNETH RAY MCMAHAN                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    KENNETH RAY MCMAHAN                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    KENNETH RAY MCMAHAN                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    KENNETH RAY MCMAHAN                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ KENNETH RAY MCMAHAN
                                 KENNETH RAY MCMAHAN                                               Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     May 3, 2018                                       Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   KENNETH RAY MCMAHAN                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Seth D Ballstaedt                                              Date         May 3, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Seth D Ballstaedt
                                Printed name

                                Ballstaedt Law
                                Firm name

                                9555 S Eastern Ave. Ste #210
                                Las Vegas, NV 89123
                                Number, Street, City, State & ZIP Code

                                Contact phone     (702) 715-0000                             Email address         help@bkvegas.com
                                11516 NV
                                Bar number & State




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                 KENNETH RAY MCMAHAN
                 140 S Buteo Woods
                 Las Vegas, NV 89144

                 Seth D Ballstaedt
                 Ballstaedt Law
                 9555 S Eastern Ave. Ste #210
                 Las Vegas, NV 89123

                 Aargon Agency
                 Acct No xxxxxx1503
                 Attn: Bankruptcy Department
                 8668 Spring Mountain Rd
                 Las Vegas, NV 89117

                 Agdirect-fcs America
                 Acct No xxxxxxxxxxxxx1001
                 Po Box 2409
                 Omaha, NE 68103

                 Ally Financial
                 Acct No xxxxxxxx4597
                 Attn: Bankruptcy
                 Po Box 380901
                 Bloomington, MN 55438

                 American Honda Finance
                 Acct No xxxxx5076
                 Attn: Bankruptcy
                 Po Box 168088
                 Irving, TX 75016

                 American Profit Recovery
                 Acct No xxx7552
                 34405 West 12 Miles Road #333
                 Farmington Hills, MI 48331

                 Amex
                 Acct No xxxxxxxxxxxx9443
                 Correspondence
                 Po Box 981540
                 El Paso, TX 79998

                 Arvest Bank
                 Acct No xxxxx5035
                 Attn: Bankruptcy
                 Po Box 11110
                 Fort Smith, AR 72917

                 Bank Of America
                 Acct No xxxxxxxxxxxx4151
                 Attn: Bankruptcy
                 Po Box 982238
                 El Paso, TX 79998
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             Bank Of America
             Acct No xxxxxxxxxxxx6623
             Attn: Bankruptcy
             Po Box 982238
             El Paso, TX 79998

             Bank Of America
             Acct No xxxxxxxxxx5436
             Attn: Bankruptcy
             Po Box 982238
             El Paso, TX 79998

             Bank Of America
             Acct No xxxxxxxxxx2571
             Attn: Bankruptcy
             Po Box 982238
             El Paso, TX 79998

             Bank Of Oklahoma Na
             Acct No xxx2532
             Po Box 2300
             Attn: Bankruptcy
             Tulsa, OK 74192

             Bank Of Oklahoma Na
             Acct No xxxxxxxxxx3943
             Po Box 2300
             Attn: Bankruptcy
             Tulsa, OK 74192

             Barclays Bank Delaware
             Acct No xxxxxxxxxxx8717
             Attn: Correspondence
             Po Box 8801
             Wilmington, DE 19899

             Barclays Bank Delaware
             Acct No xxxxxxxxxxx2684
             Attn: Correspondence
             Po Box 8801
             Wilmington, DE 19899

             Capital One
             Acct No xxxxxxxxxxxx0730
             Attn: Bankruptcy
             Po Box 30285
             Salt Lake City, UT 84130

             Capital One
             Acct No xxxxxxxx6095
             Attn: Bankruptcy
             Po Box 30285
             Salt Lake City, UT 84130
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              Capital One
              Acct No xxxxxxxxxxxx9296
              Attn: Bankruptcy
              Po Box 30285
              Salt Lake City, UT 84130

              Capital One
              Acct No xxxxxxxxxxxx8210
              Attn: Bankruptcy
              Po Box 30285
              Salt Lake City, UT 84130

              Capital One Auto Finance
              Acct No xxxxxxxxxxxxx1001
              Attn: Bankruptcy
              Po Box 30285
              Salt Lake City, UT 84130

              Capital One Auto Finance
              Acct No xxxxxxxxxxxxx1001
              Attn: Bankruptcy
              Po Box 30285
              Salt Lake City, UT 84130

              Capital One Auto Finance
              Acct No xxxxxxxxxxxxx1001
              Attn: Bankruptcy
              Po Box 30285
              Salt Lake City, UT 84130

              Cardworks/CW Nexus
              Acct No xxxxxxxxxxxx6188
              Attn: Bankruptcy
              Po Box 9201
              Old Bethpage, NY 11804

              Chase Card Services
              Acct No xxxxxxxxxxxx5739
              Correspondence Dept
              Po Box 15298
              Wilmington, DE 19850

              Chase Card Services
              Acct No xxxxxxxxxxxx6835
              Correspondence Dept
              Po Box 15298
              Wilmington, DE 19850

              Chase Card Services
              Acct No xxxxxxxxxxxx8033
              Correspondence Dept
              Po Box 15298
              Wilmington, DE 19850
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              Chase Card Services
              Acct No xxxxxxxx3513
              Correspondence Dept
              Po Box 15298
              Wilmington, DE 19850

              Chase Card Services
              Acct No xxxxxxxxxxxx8312
              Correspondence Dept
              Po Box 15298
              Wilmington, DE 19850

              Citibank/The Home Depot
              Acct No xxxxxxxxxxxx3897
              Centralized Bankruptcy
              Po Box 790034
              St Louis, MO 63179

              Citibank/The Home Depot
              Acct No xxxxxxxxxxxx2614
              Centralized Bankruptcy
              Po Box 790034
              St Louis, MO 63179

              Citicards Cbna
              Acct No xxxxxxxxxxxx1519
              Citicorp Credit Svc/Centralized Bankrupt
              Po Box 790040
              Saint Louis, MO 63179

              Communications Fcu
              Acct No xxxxxx3151
              Attn Bankruptcy
              4141 Nw Expwy Ste 200
              Oklahoma City, OK 73116

              Communications Fcu
              Acct No xxxxxx3150
              Attn Bankruptcy
              4141 Nw Expwy Ste 200
              Oklahoma City, OK 73116

              Dept of Ed / 582 / Nelnet
              Acct No xxxxxxxxxxx6539
              Attn: Claims
              Po Box 82505
              Lincoln, NE 68501

              Dept. of Employment, Training & Rehab
              Employment Security Division
              500 East Third Street
              Carson City, NV 89713
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              Elan Financial Services
              Acct No 8905
              Cardmember Services
              PO Box 790408
              Saint Louis, MO 63179-0408

              ERC
              Acct No xxxxxxx39.00
              PO BOX 23870
              Jacksonville, FL 32241

              Ford Credit
              Acct No xxxxxxxxxxxx3026
              National Bankruptcy Service Center
              Po Box 62180
              Colorado Springs, CO 80962

              Freedom Mortgage Corp
              Acct No xxxx9658
              Attn: Bankruptcy
              Po Box 489
              Mt Laurel, NJ 08054

              Internal Revenue Service
              PO Box 7346
              Philadelphia, PA 19101-7346

              Kohls/Capital One
              Acct No xxxxxxxxxxxx5002
              Kohls Credit
              Po Box 3120
              Milwaukee, WI 53201

              Mathis Brothers Cred
              Acct No xxxxx5022
              3434 W Reno
              Oklahoma City, OK 73137

              Mathis Brothers Cred
              Acct No x7741
              3434 W Reno
              Oklahoma City, OK 73137

              MERCY OKLAHOMA
              Acct No xxxxxxx63.00
              PO BOX 505393
              ST LOUIS, MO 63150

              Mortgage Clearing Corp
              Acct No xx6540
              5612 S Lewis Ave
              Tulsa, OK 74105
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              NELNET ATTN: CLAIMS
              Acct No xxxxxx0053
              PO BOX 82505
              LINCOLN, NE 68501

              Nevada Dept. of Taxations, Bankruptcy
              555 E Washington Ave, #1300
              Las Vegas, NV 89101

              RC Willey Home Furnishings
              Acct No xxxxxx7015
              Attn: Bankruptcy
              Po Box 410429
              Amarillo, TX 84141

              Receivables Performance Mgmt
              Acct No xxxx6043
              Attn: Bankruptcy
              Po Box 1548
              Lynnwood, WA 98036

              Surrey West HOA
              PO Box 1044
              Oklahoma City, OK 73101

              Syncb/Phillips 66
              Acct No xxxxxxxxxxxx1237
              Attn: Bankruptcy
              Po Box 965060
              Orlando, FL 32896

              SYNCB/Texaco
              Acct No xxxxxx6440
              Attn: Bankruptcy
              Po Box 965060
              Orlando, FL 32896

              Synchrony Bank/Lowes
              Acct No xxxxxxxxxxxx5160
              Attn: Bankruptcy Dept
              Po Box 965060
              Orlando, FL 32896

              Synchrony Bank/PayPal Cr
              Acct No xxxxxxxxxxxx4908
              Attn: Bankruptcy Dept
              Po Box 965060
              Orlando, FL 32896

              Synchrony Bank/Sams Club
              Acct No xxxxxxxxxxxx8995
              Attn: Bankruptcy Dept
              Po Box 965060
              Orlando, FL 32896
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              The Homedepot/cbna
              Acct No xxxxxxxxxxxx8702
              Po Box 6497
              Sioux Falls, SD 57117

              Tinker Fcu
              Acct No xxxxxxx0050
              Attn: Bankruptcy
              Po Box 45750
              Tinker AFB, OK 73145

              United States Trustee
              300 Las Vegas Blvd. South #4300
              Las Vegas, NV 89101

              Us Bank
              Acct No xxxxx4108
              Pobox 5229
              Cincinnati, OH 45201

              US Bank/RMS CC
              Acct No xxxxxxxxxxxx1221
              Attn: Bankruptcy
              Po Box 5229
              Cincinnati, OH 45201

              Verizon
              Acct No xxxxxxxxxx0001
              Attn: Wireless Bankrupty Admin
              500 Technology Dr Ste 500
              Weldon Springs, MO 63304

              Virginia Laxson
              937 Justin Drive
              Yukon, OK 73099

              Wells Fargo
              Acct No xxxxxxxxxxxx3252
              P.O. Box 10335
              Des Moines, IA 50306

              Wffnatbank
              Acct No xxxxxxxxxxxx2510
              Cscl Dispute Team N8235-04m
              Des Moines, IA 50306
